      Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 1 of 28




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

        Plaintiff,

vs.                                                          Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,
                                                             JURY TRIAL DEMANDED
        Defendants.

 AMENDED COMPLAINT FOR VIOLATION AND THREATENED VIOLATION OF
THE VISUAL ARTISTS RIGHTS ACT, COPYRIGHT INFRINGEMENT, BREACH OF
  CONTRACT, BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING,
      PROMISSORY ESTOPPEL, UNJUST ENRICHMENT, CONVERSION,
           MISREPRESENTATION, AND CONSTRUCTIVE TRUST

                                JURISDICTION AND VENUE

        1.     This is an action for copyright infringement arising under the Copyright Act of

1976, Title 17 U.S.C. §§ 101 et seq., violation and threatened violation of the Visual Artists

Rights Act (“VARA”), 17 U.S.C. § 106A, and state law claims arising from the same general set

of facts.

        2.     This Court has jurisdiction of this action under 28 U.S.C. §§ 1331, 1367, 1338(a)

and (b).

        3.     Venue is proper in this judicial district under 28 U.S.C. §§ 1391 and 1400(a).

                                         THE PARTIES

        4.     Plaintiff LAUREN ADELE OLIVER (hereinafter “Oliver”) is an individual and

resident of the State of New Mexico.



AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                     Page 1 of 28
      Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 2 of 28




       5.      Upon information and belief, defendant Meow Wolf, Inc. (hereinafter “MWI”) is

a Delaware corporation with a principal place of business in Santa Fe, New Mexico, and

conducts business in the State of New Mexico.

       6.      MWI is at times herein referred to as “Meow Wolf.”

       7.      Defendant Vince Kadlubek (hereinafter “Kadlubek”) is an individual, and upon

information and belief, was a director and/or officer of MWI during relevant times. Upon

information and belief, Kadlubek is a resident of Santa Fe, New Mexico.

       8.      Defendants Does 1 through 50, inclusive, are other parties not yet identified who,

upon information and belief, have infringed Oliver’s copyright(s) and/or VARA rights, have

contributed to the infringement of Oliver’s copyright(s) and/or VARA rights, and/or have

engaged in one or more of the wrongful practices alleged herein. The true names, whether

corporate, individual or otherwise, of defendants Does 1 through 50, inclusive, are presently

unknown to Oliver, who therefore sues said defendants by such fictitious names, and will seek

leave to amend this Complaint to show their true names and capacities when their true names

have been ascertained.

       9.      Upon information and belief, at all times relevant hereto each of the defendants

was the agent, affiliate, officer, director, manager, principal, alter-ego, and/or employee of the

remaining defendants and was at all times acting with the scope of such agency, affiliation, alter-

ego relationship and/or employment; and actively participated in or subsequently ratified and

adopted, or both, each and all of the acts or conduct alleged, with knowledge of all the facts and

circumstances, including, but not limited to, knowledge of each and every violation of Oliver’s

rights and the damages to Oliver proximately caused thereby. MWI, Kadlubek, and Does 1

through 50 shall sometimes be referred to herein collectively as “Defendants.”

AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                      Page 2 of 28
      Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 3 of 28




                                  GENERAL ALLEGATIONS

       10.     In or around 2006, Oliver created original sketches of an owl-like alien in a space

suit with horns and a face visor (the “Space Owl”). A true and correct copy of one of these

sketches is attached as Exhibit A.

       11.     In February 2010, Oliver began working on a narrative around the Space Owl and

created a variety of digital versions of the Space Owl.

       12.     In November 2012, Oliver created a seven-foot painted version of the Space Owl

for a group art show at a Santa Fe gallery. A local arts magazine featured an image of that

version of the Space Owl in a review of the show. A true and correct copy of this image is

attached as Exhibit B. Upon information and belief, Meow Wolf representatives saw this version

of the Space Owl at this venue, or in the magazine review.

       13.     In 2014, Oliver began envisioning the Space Owl as a central element in a climate

change-themed art project with a science fiction-style narrative, titled “Ice Station Quellette”

(“ISQ”).

       14.     During the fall of 2014, Oliver discussed her art project with Meow Wolf

representatives at an art opening. Those representatives mentioned Meow Wolf was seeking to

obtain a large art space and would need art and artists to participate and expressed interest in

Oliver participating. Oliver had known other members of Meow Wolf since the collective was

formed, and participated in early Meow Wolf projects, including the Halloween Show in Santa

Fe in 2008.

       15.     That winter of 2014/2015, Oliver was focused on developing content for her first

ISQ show at a Santa Fe gallery. At the same time, Meow Wolf began actively soliciting

proposals for their “House of Eternal Return” (“HoER”), the permanent flagship project of

AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                      Page 3 of 28
      Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 4 of 28




Meow Wolf. At the time, and on occasion through the present, Meow Wolf held itself out as an

artists’ collective. Vince Kadlubek portrayed HoER as a legacy arts complex with a permanent

exhibit that would serve the community of Santa Fe, especially its underserved young people.

George RR Martin, author and local philanthropist had bought an old bowling alley in town,

which he leased to Meow Wolf for a nominal sum.

          16.   Though there was a buzz about HoER in the Santa Fe art community, Oliver did

not actively pursue HoER as an outlet for her artwork. However, in early 2015, Meow Wolf

representatives approached Oliver, and asked her to install ISQ in the HoER. Upon that

invitation, Oliver submitted a proposal and began attending HoER development meetings.

          17.   At the same time, Oliver was continuing to develop ISQ. The first ISQ show

opened at a gallery in Santa Fe in June 2015; the centerpiece was ten-foot-tall, “life-sized”

sculptural version of the Space Owl.

          18.   The ISQ gallery show was well-received by visitors and the press.

          19.   Based on the success of the gallery show, a private science institution in Santa Fe

asked to show ISQ at their campus, and Oliver installed ISQ at that location in September 2015.

It had become clear, at that point, that ISQ was likely to be the most important project of Oliver’s

career.

          20.   Meanwhile during the HoER development meetings, Oliver learned ISQ was to be

featured prominently in the exhibit space, in its own room, alongside rooms of Meow Wolf

original members. Artists, including Oliver, were told their work had to be designed to withstand

public viewing at least for the duration of the 10-year lease Meow Wolf had secured at the

location.




AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                     Page 4 of 28
      Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 5 of 28




       21.     As plans for HoER progressed, Meow Wolf representatives, including Kadlubek,

repeatedly described participating artists, including Oliver, as part of the “collective.”

       22.     Examples of representatives describing Meow Wolf as a collective abound in

local and national publications. To this day, Meow Wolf’s website touts its status as a

“collective,” and announces that Meow Wolf “firmly believes that accomplished artists must be

compensated on an equal level with other skilled, in-demand professionals…”

       23.     Meow Wolf did not offer upfront payment to Oliver. Instead, Meow Wolf

representatives, including Kadlubek, offered membership in the “collective” and an “artist

revenue share” as the key components of compensation for participation. Such promises were

necessary to entice the original artists to invest the astonishing amount of work required to

transform an empty building into a jam-packed art playland. Kadlubek in particular repeatedly

promised an Artist Revenue Share.

       24.     Several early Meow Wolf members were old friends of Oliver, and she trusted

them. Given her long-time association with Meow Wolf and its other members, the prominent

location of her work within HoER, and representations of other early Meow Wolf members,

Oliver reasonably understood that she was part of Meow Wolf’s core team.

       25.     Meow Wolf’s representations constituted an offer: If Oliver agreed to invest the

time and resources necessary to become an original participating artist in Meow Wolf’s flagship

project, Oliver might not be paid if the venture failed, but would proportionally share in Meow

Wolf’s success should it take off.

       26.     After considering the risks and potential benefits, Oliver accepted Meow Wolf’s

offer, and expended months of her time and considerable personal resources designing and

installing a version of ISQ, including a robust version of the Space Owl, at the HoER.

AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                          Page 5 of 28
       Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 6 of 28




        27.    The installation was a filthy, full-time job, involving months of late nights,

grueling, dangerous work, and the expenditure of significant amounts of Oliver’s own money.

Oliver put every ounce of love and energy she had into the installation of ISQ at HoER, with the

result being an angelic, 13-foot-tall Space Owl, which observers often describe as alive, sentient,

and real.

        28.    It soon became clear the House of Eternal Return was going to be a success.

There were lines out the door night and day. Oliver’s towering, blinking character was a huge hit

with visitors, and Oliver felt the incredible enthusiasm in the press and on social media – the

Space Owl put a friendly face on this new, weird, sometimes intimidating art experiment. Oliver

trusted Meow Wolf would make good on their promises and work with her to formalize a

mechanism by which she could share in Meow Wolf’s extraordinary success.

        29.    However, over the course of 2017 and 2018, the language Meow Wolf used to

describe itself and its relationship with its member artists began to shift. At some point the

“Artist Revenue Share” began to be called a “Bonus Program,” amounting to Kadlubek making

personal, arbitrary decisions about who got what. Because of her relationship with Meow Wolf’s

original members, and the prominence of ISQ at HoER, Oliver continued to believe Meow Wolf

and Kadlubek would make good on their promises to her. Unbeknownst to Oliver, Kadlubek at

the time was bragging in the press about the huge profit margins Meow Wolf was enjoying while

making millions of dollars in revenue.

        30.    Meanwhile, over the course of 2018, Oliver began finding ways Meow Wolf was

making money from the ISQ without compensating or crediting Oliver – there was a coloring

book and a coffee table book in the gift shop, and they were even selling Space Owl shots in the

bar.

AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                      Page 6 of 28
      Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 7 of 28




       31.     In approximately April 2018, Oliver decided the parties needed to formalize their

agreement and relationship going forward. After considerable runaround from various

representatives, Oliver finally connected with Meow Wolf. Meow Wolf proposed a new

agreement to license Oliver’s Space Owl character, royalty-free, and without any of the up-side

compensation they had promised in order to convince Oliver to install ISQ at HoER.

       32.     Of course, Oliver declined, making it clear she did not want to sell Meow Wolf

the Space Owl. Meow Wolf eventually presented a usage agreement, but it offered offensively

little compensation in exchange for blanket immunity on copyright infringement, even as Oliver

was continuing to discover new, unauthorized uses of her work.

       33.     Thus, in June of 2018, Oliver asked Meow Wolf to stop using the Space Owl until

their relationship had been formalized.

       34.     At the same time, Oliver had other pressing responsibilities. She and her brother

were losing her mother to Parkinson’s disease, and Oliver was the primary coordinator of her

mother’s care. A persistent stomach ailment was plaguing Oliver, which she attributed to chronic

stress related to her mother’s condition and Meow Wolf’s inability or unwillingness to formalize

their relationship, properly credit her work, and allow Oliver to capitalize on the contribution

ISQ had made to Meow Wolf’s extraordinary success.

       35.     Oliver’s mother passed away in September of 2018; Oliver’s brother followed her

three months later, in December. The week her brother died, Oliver found out Meow Wolf had

used the Space Owl in the trailer for their self-made puff-piece documentary, which was

ultimately distributed to millions of viewers online and in theatres. This was despite Oliver’s

specific direction several months earlier to stop using her work without her permission. It




AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                     Page 7 of 28
      Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 8 of 28




seemed to Oliver she was powerless to stop Meow Wolf and the other defendants from illegally

using her art.

        36.      After stabilizing the estates of her mother and brother, Oliver returned to Santa Fe

in the spring of 2019. She again asked for a meeting with Meow Wolf to finally formalize the

parties’ relationship, and again got the runaround. According to news reports, Meow Wolf

received an infusion of $158 million dollars in venture capital.

        37.      Oliver finally secured a meeting with Kadlubek on June 3, 2019. During that

meeting he issued Oliver a surprise ultimatum: sell Meow Wolf all rights to the Space Owl for a

nominal sum and end the relationship or remove ISQ from HoER without additional

compensation and end the relationship. In other words, Kadlubek was saying, “You’re fired!”

The membership in the collective was being stolen. There would be no Artist Revenue Share.

There would be no compensation for all the work and money Oliver had invested in Meow Wolf,

much less the enormous amount of good will and millions of dollars the Space Owl helped bring

Meow Wolf.

        38.      At the time of the June 3, 2019 meeting, Oliver had received from Meow Wolf a

grand total of $2000 in Artist Revenue Share, which did not even cover the personal funds she

had expended for the installation of ISQ at HoER.

        39.      After the June 3, 2019 meeting, Oliver spent weeks reviewing all of her

communications with Meow Wolf as well as a multitude of articles about the “collective” and its

transition to a “startup.” Meow Wolf had been sued for discrimination and was forcing a stock

buyback from a set of early investors, who had been convinced by Kadlubek they were getting in

on the ground floor of the next Disney. Worse, from Oliver’s perspective, Meow Wolf was now

emailing paperwork declaring the only way for all of the original artists to get their artist revenue

AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                      Page 8 of 28
      Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 9 of 28




share check was to sign all their IP rights over to the company. What had begun to appear as a

fraud and theft, was beginning to feel like extortion.

       40.     It had become clear that Meow Wolf had brazenly conned dozens of artists into

installing their work for free, on the promise of collective shared success, only to renege, paying

pennies on the dollar for the participating artists’ investment of time, resources, declined

competing opportunities, artwork, and valuable intellectual property. Upon information and

belief, when Defendants were making their promises to Oliver of membership in the collective,

and an Artist Revenue Share, they had no intent to fulfill those promises. Any license to show

Oliver’s work at HoER, implied or otherwise, was contingent on Defendants’ good faith and

fulfillment of their promises.

       41.     Meanwhile, Oliver’s mysterious stomach ailment turned out to be a diagnosis of

ovarian cancer, stage IV. Accelerated spread of ovarian cancer is associated with chronic stress.

       42.     In the months since her meeting with Mr. Kadlubek on June 3, 2019, Oliver tried

to negotiate a fair resolution. Meow Wolf’s members were Oliver’s friends. She just wanted to

be treated fairly and receive appropriate compensation for the use of her art and her ownership

interest in Meow Wolf, given the promises that were made to convince her to install ISQ at

HoER, and the contribution the Space Owl has made to Meow Wolf’s success. Unfortunately,

Meow Wolf’s response has been to double-down on the cruel ultimatum Kadlubek made at the

June 3, 2019 meeting. All this while being fully aware of Oliver’s diagnosis and that the stress

and delay tactics would threaten her ability to battle her illness.

       43.     Ironically, the funds used by Meow Wolf to battle against Oliver’s claims come,

in no small part, from the money Oliver’s work made for them.




AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                      Page 9 of 28
     Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 10 of 28




       44.     Meow Wolf has repeatedly threatened Oliver with the removal of ISQ without her

permission. Because of the way it is constructed, removal of the installation would require its

destruction, including the destruction of the Space Owl.

       45.     Another disturbing moment for Oliver came at the beginning of 2020, when she

was recovering from cancer surgery. A family member told Oliver she had seen the Space Owl

on Apple News. Oliver obtained a link to a piece on Artnet: “The 100 Defining Works of the

Decade.” Number 25 was Meow Wolf, along with a picture of the Space Owl. Beyoncé (#24)

and Banksy (#23) got to see their name on that list – but not Oliver. Instead, her work was

attributed to the Meow Wolf artists’ “collective.” A copy of pertinent portions of the fourth

instalment of the Artnet piece containing Meow Wolf as #25 is attached hereto as Exhibit C. A

copy of the Artnet introductory page for the 4-part series, incorporating the Space Owl as one of

only 7 images included from the piece, is attached hereto as Exhibit D.

       46.     Had Defendants been truthful at the outset that their actual plan was to morph

Meow Wolf into a massive entertainment conglomerate, potentially worth hundreds of millions

of dollars, none of which Oliver would share in, Oliver would have never put her flagship art

project, which spent many years developing, into HoER.

       47.     Because of Defendants’ misrepresentations and actions, Oliver’s ability to realize

the potential of ISQ and the Space Owl has been thwarted, while at the same time her work has

been exploited to enrich a handful of lucky new millionaires. Had Oliver any clue Defendants

would leverage her trust, based on false promises, to obtain her participation, then exploit her

Space Owl character to build their brand empire – all without compensation, credit, or consent –

and even after she asked them to stop using it, she most definitely would have said, “No thanks.”




AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                    Page 10 of 28
       Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 11 of 28




Oliver’s life until now has been focused on creating art, but because of her experience with

Defendants, her interest in making art has been largely destroyed.

                                  SPECIFIC ALLEGATIONS

        48.    The ISQ installation at HoER, including the Space Owl, encompass multiple

elements of Ice Station Quellette and Ice Station Quellette – The Last Ice On Earth, works

registered with the U.S. Copyright Office, Registration Numbers TXu 2-144-749 and VA 2-170-

075.

        49.    Oliver is the sole author of Ice Station Quellette, Ice Station Quellette – The Last

Ice On Earth, and the Space Owl.

        50.    Upon installation of the ISQ at HoER, Oliver held an ownership interest in the

Meow Wolf artists’ collective.

        51.    Oliver has not signed any written document purporting to transfer any interest in

the copyright of ISQ or the Space Owl to Meow Wolf.

        52.    The Space Owl and other elements of ISQ installed at HoER are works of visual

art as defined in 17 U.S.C. § 101 and as the term is used in 17 U.S.C. § 106A.

        53.    The Space Owl and other elements of ISQ installed at HoER are works of

recognized stature as the term is used in 17 U.S.C. § 106A(a)(3)(B).

        54.    The HoER has been a monumental success, generating tens-of-millions in

revenue in its first four years. That success has propelled Meow Wolf to an artistic enterprise

with hundreds of employees, valued at hundreds of millions of dollars.

        55.    In mid-2019, Meow Wolf announced the infusion of $158 million in venture

funding from 87 investors. Upon information and belief, both as part of this round of funding,




AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                    Page 11 of 28
     Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 12 of 28




and earlier rounds, Defendants alienated, encumbered, or diluted Oliver’s ownership interest in

the Meow Wolf artists’ collective.

       56.     After HoER’s opening, ISQ, and in particular the Space Owl, became an instant

fan favorite. The Space Owl was and is a highly recognizable, iconic element of the exhibit

appearing in countless social media posts from HoER visitors. Numerous local, national, and

international press articles on Meow Wolf’s success have featured images and descriptions of the

Space Owl.

       57.     Since the HoER opening in March 2016, Defendants have consistently exploited

the fan appeal of ISQ and the Space Owl across multiple platforms to Defendants’ benefit in

promoting their brand and building their enterprise, without attribution and often without

Oliver’s knowledge or permission.

       58.     Examples of such usage include using the Space Owl image in advertising, social

media posts, and to represent Meow Wolf at the Themed Entertainment Association (“THEA”)

Awards. A copy of Meow Wolf’s THEA Awards web page is attached hereto as Exhibit E.

       59.     Upon information and belief, Meow Wolf has presented ISQ and the Space Owl

to investors and other third parties as Meow Wolf’s intellectual property.

       60.     The “art collective Meow Wolf’s” HoER was recently lauded as #25 in an

influential publication’s list of “The 100 Works of Art That Defined the Decade.” The image

used to represent HoER in the publication was of the Space Owl.

       61.     Defendants knew or should have known that Oliver held copyrights covering the

ISQ at HoER, including the Space Owl, at all relevant times.




AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                  Page 12 of 28
     Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 13 of 28




       62.     Defendants knew or should have known that Oliver held rights of attribution and

integrity covering ISQ at HoER, including the Space Owl, at all relevant times pursuant to

VARA, 17 U.S.C. § 106A.

       63.     Examples of Defendants use and copying of Oliver’s work, without attribution

without Oliver’s knowledge or permission, and in violation of Oliver’s copyrights and VARA

rights include commissioning a Meow Wolf employee to draw an ISQ scene featuring an image

substantially similar to the Space Owl for their Coloring Book, captioning an image of the Space

Owl in a Coffee Table Book with HoER narrative text, and utilizing images of the Space Owl in

cross-branding promotions with multi-national corporations. Both the Coloring Book and the

Coffee Table Book have been sold in the HoER gift shop and online. A copy of the relevant

coloring book pages is attached hereto as Exhibit F. A copy of a Red Bull promotional web page

incorporating the Space Owl is attached hereto as Exhibit G.

       64.     In June 2018, Oliver directed Meow Wolf to refrain from using the Space Owl

until a usage agreement had been negotiated. To the extent any implied license for promotional

purposes existed prior to this communication, which is disputed by Oliver, this communication

ended any such implied license. In addition, Oliver specifically directed Meow Wolf not to use

her name as the author of any portion of the “Todos 7” collection of visual art. Despite this

direction, Meow Wolf repeatedly used Oliver name and ISQ with the “Todos 7” collection of

visual art, including Meow Wolf’s “credits” web page indicating ISQ as being part of “Todos 7.”

       65.     Notwithstanding Oliver’s direction, in late 2018 Meow Wolf included the Space

Owl, without attribution to Oliver, to represent Meow Wolf in their “Origin Story” documentary

and associated trailer, which has been now been seen extensively by the public, in theaters and

online. A screenshot of the trailer is attached hereto as Exhibit H.

AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                   Page 13 of 28
     Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 14 of 28




       66.     Up until June 3, 2019, Oliver was an enthusiastic supporter of Meow Wolf and

attempted at various times after the opening of the HoER to become more involved in the

collective.

       67.     Leading up to June 3, 2019, Oliver’s relationship with Defendants, and her

interactions with them had been pleasant. Oliver trusted that Defendants would at some point

negotiate a reasonable method of compensation in keeping with her contribution and status as a

member of the Meow Wolf artists’ collective and core team.

       68.     However, as previously described, on June 3, 2019, Oliver was given an

ultimatum by Defendants: sell them all rights to the Space Owl, along with a license for the

exhibition of the remaining ISQ elements at HoER, for an unreasonably low one-time payment;

or remove ISQ from HoER with no additional compensation.

       69.     These communications were the first time Oliver realized Defendants had been

acting in bad faith and did not intend to share Meow Wolf’s “collective” success with Oliver as

promised.

       70.     Defendants have threatened to remove ISQ from HoER without Oliver’s

permission if she did not accede to Defendants demands. ISQ cannot be removed from HoER

without being distorted, mutilated, modified, or destroyed.

       71.     Defendants’ wrongful acts and omissions have caused Oliver to incur significant

actual damages, including, but not limited to, those damages stemming from lack of attribution

in multiple Meow Wolf publications of Oliver’s work, loss of opportunities to realize value from

ISQ and the Space Owl, association of Oliver’s work with corporations anathema to ISQ’s

climate-change theme and Meow Wolf itself, loss of the value of Meow Wolf’s agreement to

AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                 Page 14 of 28
     Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 15 of 28




share its success with Oliver, and loss of the value of her ownership interest in the Meow Wolf

artists’ collective. An example of the damage to Oliver’s honor and reputation related to her

association with Meow Wolf can be seen in the article entitled, “How Do You Solve a Problem

Like Meow Wolf,” by Christina Rees and Neil Fauerso, Oct. 1, 2018, Glasstire, which used an

image of the Space Owl under the headline, and which is attached hereto as Exhibit I.

       72.     In an amount to be proved at trial, some significant portion of Meow Wolf’s

success and current valuation is attributable to the ISQ, and its iconic Space Owl.

       73.     To date, Oliver has received, at most, $2,000 from Meow Wolf for her installation

of ISQ at HoER.

              ADDITIONAL AND SUMMARIZING ALLEGATIONS REGARDING
                  DEFENDANTS’ PROMISES AND REPRESENTATIONS

       74.     Repeatedly during meetings from late-spring through the remainder of 2015,

Defendants promised that, in lieu of upfront payment for installing her art in the HoER, Oliver

would be compensated as a member of the Collective and through a back-end payment of an

“Artist Revenue Share.”

       75.     The meetings where Defendants made the promises to Oliver and other

participating artists were held at facilities located on Rufina Circle and Rufina Street in Santa Fe,

New Mexico. The meetings were generally collaborative. As the layout and design of the

project was solidified, later meetings often involved Kadlubek delivering an increasingly

polished pitch promising the revenue share as an incentive not only to participate, but to devote

everything Oliver and the other Collective members had to the project.

       76.     As represented by Defendants, in particular Kadlubek, Oliver’s share of revenue

would be calculated and distributed on an annual basis, based on how much revenue the venture

generated each year. Prior to Oliver’s installation of ISQ at HoER, Defendants never represented
AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                     Page 15 of 28
     Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 16 of 28




to Oliver that there was a cap on the share of revenue she would receive; rather, Defendants

representations led Oliver to reasonably believe the return on her investment would be

proportional to Meow Wolf’s success.

       77.     In Oliver's experience growing up in Silicon Valley, involvement in tech ventures,

and career in the entertainment industry in New York, London, and Los Angeles, and consistent

with her understanding at the time, start-ups on a limited budget often attract talent by providing

a mechanism for that talent to share in the ultimate success of the venture. Based on Defendants’

representations, Oliver reasonably believed that type of back-end compensation model was what

Defendants were promising. In addition, if Meow Wolf were to incorporate and/or be purchased,

her membership in the Collective and/or share in future revenue would convert to equity or

payout proportionate with her investment. Upon information and belief Defendants knew of

Oliver’s background and knew or should have known that their representations would lead to this

understanding on the part of Oliver.

       78.     In reasonable reliance on Defendants’ promises, Oliver invested all her available

time and resources into the project, believing the installation of her flagship Ice Station Quellette,

and its central Space Owl figure, at HoER would pay off proportionately with Meow Wolf’s

success. She leveraged years of development effort she had put into ISQ, and spent months in

design and materials research before completing the grueling two-and-a-half-month build. Oliver

delivered, on time and to professional standards.

       79.     Prior to Oliver’s completion of her work at ISQ, Defendants never communicated

to Oliver that the value of her membership in the Collective and the promised revenue share was

limited by anything other than Meow Wolf’s success.




AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                     Page 16 of 28
      Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 17 of 28




                               FIRST CLAIM FOR RELIEF
                       (Copyright Infringement against All Defendants)

          80.   Oliver repeats and realleges the averments contained in all other paragraphs of

this complaint as though fully set forth, except to the extent they are contrary to this claim for

relief.

          81.   Oliver is the sole author and owner of a valid copyright covering elements of the

ISQ at HoER, including the Space Owl.

          82.   Oliver did not transfer any right to create derivative works of the ISQ or Space

Owl to Defendants.

          83.   Defendants’ production, reproduction, and preparation of copies or substantially

similar derivative works based on protected elements of the ISQ, including, without limitation,

the Coloring Book and the Coffee Table Book, without Oliver’s consent, represent infringements

of Oliver’s exclusive rights under the Copyright Act.

          84.   Defendants did not have an express license, in writing, signed by Oliver to

publicly display ISQ or the Space Owl at HoER.

          85.   To the extent Defendants disclaim any promises to Oliver as outlined herein, or

the existence of a corresponding enforceable agreement with Oliver, there was no implied license

to publicly display ISQ and the Space Owl at HoER, and Defendants’ public display of ISQ and

the Space Owl to paying patrons and potential investors, without any license, infringed Oliver’s

exclusive rights under the Copyright Act.

          86.   Defendants’ conduct was willful and malicious.

          87.   As a result of the above-described conduct by Defendants, Oliver has been

damaged in an amount to be proved at trial.



AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                     Page 17 of 28
      Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 18 of 28




          88.      By reason of their copyright infringement, Oliver is entitled to recover her actual

damages or Defendants’ profits.

          89.      In the alternative, at the election of Oliver, Oliver is entitled to recover from

Defendants statutory damages for Defendants’ willful copyright infringement.

          90.      Oliver neither knew, nor should have known, of Defendants’ infringement of her

copyrights until sometime in 2018.

                                  SECOND CLAIM FOR RELIEF
                (Violation and Threatened Violation of VARA against All Defendants)

          91.      Oliver repeats and realleges the averments contained in all other paragraphs of

this complaint as though fully set forth, except to the extent they are contrary to this claim for

relief.

          92.      Elements of ISQ installed at HoER, including, without limitation, the Space Owl,

are each a “work of visual art” within the meaning of 17 U.S.C. § 101.

          93.      As alleged above, Oliver specifically directed Meow Wolf not to use her name as

the author of any portion of the “Todos 7” collection of visual art. Despite this direction, Meow

Wolf repeatedly used Oliver name and ISQ with the “Todos 7” collection of visual art, including

Meow Wolf’s “credits” web page indicating ISQ as being part of “Todos 7.” Defendants use of

Oliver as the author for “Todos 7” constitutes violations of Oliver’s rights of attribution under

VARA.

          94.      ISQ elements, including the Space Owl, are works of recognized stature pursuant

to 17 U.S.C. § 106A(a)(3)(B), having received wide public acclaim and approval, and having

been recognized as definitive and important in publications by influential members of the artistic

community.



AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                          Page 18 of 28
      Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 19 of 28




          95.    Defendants used ISQ elements, including the Space Owl, such that the works

were distorted, mutilated, or modified in a way prejudicial to Oliver’s honor and reputation.

          96.    Defendants used ISQ elements, including the Space Owl, without Oliver’s

knowledge or permission, and without attribution.

          97.    ISQ, including the Space Owl, have been incorporated in and made part of HoER

such that removing the works of visual art, or any part thereof, from HoER would cause their

destruction, distortion, mutilation, or modification.

          98.    Oliver has never waived her VARA rights.

          99.    Defendants’ prior acts violative of Oliver’s VARA rights have caused Oliver

actual damages in an amount to be proved at trial.

          100.   Oliver neither knew nor should have known of Defendants’ acts in violation of

VARA until sometime after June 3, 2019.

          101.   Oliver does not have an adequate remedy at law to address Defendants ongoing

use of ISQ and the Space Owl without attribution and threatened removal of ISQ from HoER.

                                 THIRD CLAIM FOR RELIEF
                           (Breach of Contract against All Defendants)

          102.   Oliver repeats and realleges the averments contained in all other paragraphs of

this complaint as though fully set forth, except to the extent they are contrary to this claim for

relief.

          103.   In exchange for Oliver’s timely installation of ISQ at HoER without initial

compensation, Defendants offered Oliver membership in the Meow Wolf artists’ collective and a

right to receive a share of Meow Wolf’s revenue. Under Defendants’ offer, Oliver’s future

compensation would be proportionate with any increased value of Meow Wolf’s brand and



AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                     Page 19 of 28
         Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 20 of 28




enterprise and any increased revenue realized by Meow Wolf, i.e. a share of Meow Wolf’s

success.

          104.   Oliver accepted Defendants’ offer, and installed ISQ at HoER according to its

terms, thereby creating a contract.

          105.   Oliver has performed all duties required of her under the contract.

          106.   The acts and omissions of the Defendants outlined herein constitute breaches of

the contract.

          107.   Defendants’ breaches have caused damage to Oliver in an amount to be proved at

trial.

                              FOURTH CLAIM FOR RELIEF
          (Breach of Covenant of Good Faith and Fair Dealing against All Defendants)

          108.   Oliver repeats and realleges the averments contained in all other paragraphs of

this complaint as though fully set forth, except to the extent they are contrary to this claim for

relief.

          109.   Defendants failed to implement the terms of Oliver’s contract with Meow Wolf in

good faith.

          110.   Defendants wrongfully and intentionally acted and failed to act contrary to

Oliver’s rights under the contract, and were consciously aware of, and proceeded with deliberate

disregard for, the potential harm to Oliver from their acts and failures to act.

          111.   Oliver suffered damages, including general damages, as a result of Defendants’

bad faith in an amount to be proved at trial.

          112.   Defendants’ actions justify an award of punitive damages.




AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                     Page 20 of 28
      Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 21 of 28




                                 FIFTH CLAIM FOR RELIEF
                          (Promissory Estoppel against All Defendants)


          113.   Oliver repeats and realleges the averments contained in all other paragraphs of

this complaint as though fully set forth, except to the extent they are contrary to this claim for

relief.

          114.   Defendants’ reasonably foresaw, or should have foreseen, and intended that, their

promises to Oliver of membership in the Collective and a revenue share, representing a

proportionate share in the success of Meow Wolf, would induce Oliver to invest her labor,

money, and artwork at HoER as outlined herein.

          115.   Oliver invested her labor, money, and artwork at HoER in reasonable reliance on

Defendants’ promises in an amount to be proved at trial.

          116.   Oliver’s investment of labor, money, and artwork in reasonable reliance on

Defendants' promises amounted to a substantial change in position.

          117.   Oliver suffered damages in an amount to be proved at trial as a result of

Defendants’ failure to fulfill their promises, and enforcement of Defendants’ promises to Oliver

is required to prevent injustice.

                                 SIXTH CLAIM FOR RELIEF
                           (Unjust Enrichment against All Defendants)


          118.   Oliver repeats and realleges the averments contained in all other paragraphs of

this complaint as though fully set forth, except to the extent they are contrary to this claim for

relief.

          119.   Defendants knowingly benefitted at Oliver’s expense. If the HoER had been

either unsuccessful or only moderately successful, Defendants would have proceeded within the

AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                     Page 21 of 28
         Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 22 of 28




collective structure they presented by sharing with the artists, including Oliver, on an equitable

basis. HoER’s enormous success changed Defendants’ minds, however, and caused them to

convert the assets of the collective to their benefit alone, and at the expense of Oliver and others.

          120.   These benefits so converted and retained at Oliver’s expense include, but are not

limited to, the increase in revenue Meow Wolf enjoyed as a result of ISQ’s installation at HoER,

and the increase in value of Meow Wolf’s brand and enterprise attributable to ISQ’s installation

at HoER.

          121.   Defendants’ retention of the benefits they obtained at Oliver’s expense would be

unjust.

                                SEVENTH CLAIM FOR RELIEF
                               (Conversion against All Defendants)

          122.   Oliver repeats and realleges the averments contained in all other paragraphs of

this complaint as though fully set forth, except to the extent they are contrary to this claim for

relief.

          123.   To the extent it is determined that Oliver held and holds title to her work at

HoER, Defendants have wrongfully possessed and exercised dominion and control over ISQ and

the Space Owl.

          124.   Oliver neither new nor should have known of Defendants’ conversion of her

property until after June 3, 2019.

          125.   Oliver was damaged by Defendants’ conversion in an amount to be proved at

trial.

          126.   This claim is not asserting conversion of Oliver’s copyrights.




AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                      Page 22 of 28
      Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 23 of 28




                                EIGHTH CLAIM FOR RELIEF
                     (Intentional Misrepresentation against All Defendants)

          127.   Oliver repeats and realleges the averments contained in all other paragraphs of

this complaint as though fully set forth, except to the extent they are contrary to this claim for

relief.

          128.   Defendants knowingly and intentionally made representations to Oliver that she

would be compensated proportionally with the ISQ’s contribution to Meow Wolf’s brand,

enterprise, and revenue. These representations included statements that Oliver was part of the

Meow Wolf “collective,” and her compensation would include an “artist revenue share.”

          129.   Defendants representations were material.

          130.   Defendants representations were false, and Defendants knew them to be false at

the time they were made.

          131.   Defendants intended Oliver to rely upon their representations.

          132.   Oliver justifiably relied upon Defendants’ representations to her detriment and

suffered general and special damages in an amount to be proved at trial.

                                 NINTH CLAIM FOR RELIEF
                      (Negligent Misrepresentation against All Defendants)

          133.   Oliver repeats and realleges the averments contained in all other paragraphs of

this complaint as though fully set forth, except to the extent they are contrary to this claim for

relief.

          134.   Defendants made representations to Oliver that she would be compensated

proportionally with the ISQ’s contribution to Meow Wolf’s brand, enterprise, and revenue.

These representations included statements that Oliver was part of the Meow Wolf “collective,”

and her compensation would include an “artist revenue share.”

AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                     Page 23 of 28
      Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 24 of 28




          135.   Defendants representations were material.

          136.   Defendants representations were false, and Defendants should have known them

to be false at the time they were made.

          137.   Defendants intended Oliver to rely upon their representations.

          138.   Oliver justifiably relied upon Defendants’ representations to her detriment and

suffered general and special damages in an amount to be proved at trial.

                                 TENTH CLAIM FOR RELIEF
                            (Constructive Trust against All Defendants)

          139.   Oliver repeats and realleges the averments contained in all other paragraphs of

this complaint as though fully set forth, except to the extent they are contrary to this claim for

relief.

          140.   Defendants hold title to Oliver’s ownership interest in the Meow Wolf artists’

collective subject to an equitable duty to convey that interest to Oliver.

          141.   Defendants would be unjustly enriched if the they were permitted to retain

Oliver’s ownership interest.

                                       PRAYER FOR RELIEF

          WHEREFORE, Oliver prays for non-duplicative relief as follows:

    A. For an Order enjoining Defendants, their officers, agents, employees, and those acting in

          concert or conspiracy with them, temporarily during the pendency of this action, and

          permanently thereafter, from: (a) infringing, or contributing to or participating in the

          infringement by others any element of ISQ, including, without limitation, the Space Owl

          or acting in concert with, aiding, or abetting others to infringe said copyright in any way;

          (b) copying, duplicating, selling, licensing, displaying, distributing, or otherwise using



AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                       Page 24 of 28
     Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 25 of 28




       without authorization copies of any element of ISQ, including, without limitation, the

       Space Owl, or derivative works based thereon;



   B. For an Order enjoining Defendants, their officers, agents, employees, and those acting in

       concert or conspiracy with them, temporarily during the pendency of this action, and

       permanently thereafter, from: (a) taking any action to remove, alter, deface, modify,

       mutilate, or destroy ISQ at HoER, or any element thereof, during Oliver’s lifetime; and

       (b) using ISQ, or any element thereof, including the Space Owl, without the permission

       of, or attribution to, Oliver;



   C. For an order requiring that Defendants account for and pay over to Oliver the portion of

       their income reasonably attributable to Oliver’s work, whether by copyright infringement

       or otherwise, and to pay such damages to Oliver as to this Court shall appear just and

       proper within the provisions of the Copyright Act, or, in the alternative, at Oliver’s

       election, statutory damages for infringement of each separate copyright as set forth in 17

       U.S.C. § 504;



   D. Damages sustained by Oliver arising from Defendants use of her works without

       attribution, and their distortion, mutilation, or other modification of her works in a way

       prejudicial to her honor and reputation;



   E. Damages sustained by Oliver arising from Defendants’ breach of contract in an amount

       to be proved at trial;

AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                    Page 25 of 28
     Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 26 of 28




   F. General and special damages sustained by Oliver arising from Defendants’ breach of the

       covenant of good faith and fair dealing implied in all contracts in an amount to be proved

       at trial;



   G. An order requiring Defendants to disgorge Defendants’ unjust enrichment, in the full

       amount of the direct and indirect benefit that Defendants retained, as a result of their

       wrongful acts and omissions outlined herein, in an amount to be proved at trial;



   H. Damages sustained by Oliver as a result of Defendants’ conversion of Oliver’s property

       in an amount to be proved at trial;



   I. General and special damages sustained by Oliver as a result of Defendants’

       misrepresentations to Oliver in an amount to be proved at trial;



   J. Exemplary and punitive damages commensurate with Defendants’ ability to pay and

       sufficient to deter future similar conduct;



   K. For an award of costs pursuant to the Copyright Act and VARA, 17 U.S.C. §§ 101, et

       seq., or as otherwise provided by law;



   L. For an award of attorneys’ fees pursuant to the Copyright Act and VARA, 17 U.S.C. §§

       101, et seq., or as otherwise provided by law;

AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                    Page 26 of 28
     Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 27 of 28




   M. For an award of pre-judgment interest and post-judgment interest in the maximum

       amount permitted by law;



   N. For such other and further relief as the Court deems just and proper.




Dated: June 1, 2021                         Respectfully submitted,


                                                    FREEDMAN BOYD HOLLANDER
                                                    GOLDBER URIAS & WARD PA

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AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                 Page 27 of 28
     Case 1:20-cv-00237-KK-SCY Document 148 Filed 06/01/21 Page 28 of 28




                                      Certificate of Service

        I hereby certify that on June 1, 2021 a true and correct copy of the foregoing document,
and all referenced exhibits was served via CM/ECF on all interested parties. I further certify that
I mailed the foregoing document and the notice of electronic filing by first-class mail to the
following non-CM/ECF participants: N/A.

                                                               /s/ Jesse A. Boyd
                                                               Jesse A. Boyd




AMENDED COMPLAINT – Oliver v. Meow Wolf, Inc., et
al.                                                                                   Page 28 of 28
